Case 2:95-cr-20226-.]PI\/| Document 30 Filed 06/24/05 Page 1 of 2 Page|D 31

IN THE UNITED sTATEs DISTRICT coURT 51-* “'w
FoR THE wEsTERN DISTRICT oF TENNESSEE f `_
wEsTERN DIVISION 95 J\.j?‘é 2a rim _:.

 

UNITED STATES OF AMERICA

 

Plaintiff,
Criminal No. ?5’_-20:2[ Ml

(180-Day Continuance)

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Defendant(S).

 

R.EPORT ON FUGI'I'IVE STATUS AND RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(s). A follow-up report
on efforts to bring the above-referenced fugitive defendant(s)
before the Court will be made on Tuesdav, December 20. 2005, at

10:30 a.m.

so oRDERED this 24th day of June, 2005.

QW@QL

JO PHIPPS MCCALLA
TED STATES DISTRIC'I` JUDGE

 

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Assistant United States Attorney Tmsmmummuememdonm d k
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with Ru!e £:»5 ami/or 32(b) FHCrP on "Q ‘2 'Q§§]

 

UNITED sTATE DRISTIC COUR - W'"ERNT D's'TRCT oFTENNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:95-CR-20226 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
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Honorable J on McCalla
US DISTRICT COURT

